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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 XIAOMI CORPORATION, et al.,


                     Plaintiffs,

         v.                                          Civil Docket No. 21-cv-00280 (RC)

 U.S. DEPARTMENT OF DEFENSE, et al.,


                     Defendants.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s April 28, 2021 Minute Order, the Parties submit the following joint

status report regarding further proceedings in this litigation.

       Since the Parties’ previous joint status report, the Parties have agreed upon a path forward

that would resolve this litigation without the need for contested briefing. In particular, in light of

this Court’s preliminary injunction order and opinion, ECF Nos. 20, 21, and Defendants’ decision

not to appeal that order, Defendants have agreed that a final order vacating the January 14, 2021

designation of Xiaomi Corporation as a CCMC pursuant to section 1237 of the FY 1999 NDAA,

as amended, would be appropriate. An order vacating agency action is the ordinary result when a

court has determined that such action violates the APA. See 5 U.S.C. § 706(2). Plaintiffs support

such an order. The parties will negotiate over the specific terms of the order, and anticipate

providing this Court a joint proposed order on or before Thursday, May 20, 2021.
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Dated: May 11, 2021                              Respectfully submitted,

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